Case 2:20-cv-01733-JLR Document 34-3 Filed 04/08/21 Page 1 of 5




                        EXHIBIT C
                  Case 2:20-cv-01733-JLR Document 34-3 Filed 04/08/21 Page 2 of 5


Christina Henry

From:                  J. Craig Jones <craig@joneshilllaw.com>
Sent:                  Tuesday, April 6, 2021 3:20 PM
To:                    Petersen, Chelsea D. (Perkins Coie)
Cc:                    Christina Henry; Shook, Heather (Perkins Coie); Jasukaitis, Margo (Perkins Coie); Scott Borison; Craig
                       Hill; Ragen Chamberlain; Angelina Conner
Subject:               Re: Hesketh v TRC


Ms. Peterson:

Further to Ms. Henry’s email to you of this day, you have an obligation under LCR 82.3(c) to confer with us about periods
of significant unavailability. If you are unavailability in the present instance (we are exchanging emails) that
unavailability is significant by any measure because your co‐counsel can make no decision without you and your absence
forces us to unilaterally notice depositions, given the short delay within which we have to finish discovery. Moreover,
DaVita’s position that you can accept a subpoena on their behalf but not notice, while at the same time you can speak
for DaVita by objecting to the breath of the topics of the notice is, at best, curious.

That said, the clear import of your communications with Ms. Henry on March 31, 2021 was that you and DaVita felt the
most expeditious way to proceed is for the plaintiff to name DaVita directly and drop the defendant class, a proposition
with which we tend to agree. However, you understand very well that we cannot drop the defendant class and name
DaVita directly without an agreement that a suit again DaVita also includes all of its subsidiaries, obviating the need for a
defendant class.

Please let us hear DaVita’s position in regard of agreeing that if we drop the defendant class and name DaVita directly,
that DaVita will also agree that a suit against DaVita includes all its subsidiary whose employees fit with the putative
class.

We are happy to work with you to avoid having to take unilateral action but asking us to run the clock out on discovery is
a dead letter. We welcome any suggestions at to how we can get done what we need to get done if we do nothing
until you return.

Regards,

J. Craig Jones




J. Craig Jones | Complex Litigation
JONES & HILL TRIAL LAWYERS
131 Highway 165 South | Oakdale, LA 71463
TEL 318-335-1333 | FAX 318-335-1934
www.joneshilllaw.com




                                                               1
                  Case 2:20-cv-01733-JLR Document 34-3 Filed 04/08/21 Page 3 of 5




        This email site is not designated for receipt of service or notice: FRCivP 5(b)(2)(E) & La CCivP 1313
"Confidentiality Notice: This electronic message contains information which may be privileged and/or confidential. The
information is intended for use only by the individual(s) or entity(ies) named/indicated above. BE ADVISED that any
unauthorized access, disclosure, copying, distribution, or use of the content of this message/information is prohibited by
federal law. Any attempt to intercept this message is in violation of 18 U.S.C. Sec. 2511(1) of the Electronic Communications
Privacy Act (ECPA), which subjects the interceptor to fines, imprisonment and/or civil damages. Accordingly, if you have
received this message in error, immediately contact J. Craig Jones or Sommer Coker at (318) 335-1333 and delete the
message without reviewing, copying, or making further use of the information contained therein."




        On Apr 6, 2021, at 3:32 PM, Petersen, Chelsea D. (Perkins Coie) <CDPetersen@perkinscoie.com> wrote:

        Christina -

        With regard to your comments below regarding my offer to discuss the defendant
        class, you once again appear to be having an issue with your correspondence. I sent
        my email the evening of Wednesday, March 31, in which I invited you to reach out to
        me. We then spent the next two full days together in depositions. I opened the topic
        and we had ample opportunity to discuss, yet the topic did not come up. I owe you no
        notification of my travel schedule (though I did previously indicate that I would be
        out).

        If you are now interested in discussing, I would be happy to do so after my return.

        I don’t have any issue with setting a tentative date for the the 30(b)(6) deposition, but
        as noted previously, the notice as drafted is extraordinarily broad and may require
        multiple deponents. DaVita retains the right to object.

        Finally, Heather and Margo are marvelous associates who I trust, but they are not lead
        counsel on this case and Heather was right to explain that discussion of these issues
        will need to wait a few days until I return. Beginning this evening I am unlikely to
        have any internet access for several days. I look forward to speaking with you when I
        return.

        Thank you,
        Chelsea




                                                             2
 Case 2:20-cv-01733-JLR Document 34-3 Filed 04/08/21 Page 4 of 5

On Apr 6, 2021, at 9:23 AM, Christina Henry <chenry@hdm-
legal.com> wrote:


Heather,
We spoke yesterday on the phone to confirm that your firm would accept service of the
Subpoena for DaVita, Inc. that is set for April 20th at 1:30pm with the possibility that the
deposition would be continued to the next day if necessary. Yesterday that subpoena
was served via email as agreed.

On April 20th, 2021, your firm has also noticed a deposition for the Plaintiff at 10am and
you expressed concern about the need to possibly continue his deposition if it does not
conclude before 1:30pm, to which I agreed. I also note that we could be agreeable to
move the deposition to 9AM to allow an additional hours for Mr. Hesketh’s deposition
on the 20th if needed.

We also tentatively set April 13, 2021 at 10:30am to discuss the deposition topics for
DaVita’s 30(b)(6) deposition and you agreed to confirm the date.

Lastly, we discussed the fact that Chelsea is out of the country for a week without any
notice to us and that you and your co‐counsel Margo are unable to discuss the matters
in the email attached which are pressing as deadlines approach in this case. Please
confirm that I have accurately stated that neither you nor your co‐counsel Margo is at
all available to discuss the following paragraph regarding the defendant’s class that was
raised at 3:16pm on Friday during a deposition in this case. The relevant paragraph from
the email attached that needs immediate discussion is as follows:

“Potentially most important, the listed 30(b)(6) topics (as well as other discovery) reveal
that plaintiff is focused on piecing together bits and pieces of information to establish
the relationship between TRC and DaVita for purposes of establishing the defendant
class. It would be helpful for us to understand why plaintiff has structured this case as a
putative defendant class of DaVita subsidiaries as opposed to naming DaVita as a
defendant. It may be possible for us to cut through this seemingly inefficient process by
reaching an agreement as to the defendant class definition or otherwise stipulating to
the structure. I invite your response and/or any suggestions as to how to proceed.”

Thank you.


Christina L. Henry, Attorney
Henry & DeGraaff, P.S.
787 Maynard Ave S
Seattle, Washington 98104
Tel 206/330-0595
Fax 206-400-7609
chenry@HDM-legal.com



CONFIDENTIALITY NOTICE: This e-mail may contain information that is protected by the
attorney-client and/or the attorney-work product privilege. It is intended only for the
individual named above and the privileges are not waived by virtue of this having been sent
by e-mail. If you are not the intended recipient ANY USE, DISSEMINATION, DISTRIBUTION
OR COPYING OF THIS COMMUNICATION IS STRICTLY PROHIBITED. If you have received
this communication in error, please immediately notify us by return e-mail or telephone at


                                             3
            Case 2:20-cv-01733-JLR Document 34-3 Filed 04/08/21 Page 5 of 5
          the e-mail address or telephone number listed above and destroy this transmission and any
          attachments without reading or saving in any manner. Thank you



          <mime-attachment>


NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please advise the
sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents. Thank you.




                                                                      4
